           Case 1:20-cv-10693-IT Document 33 Filed 06/05/20 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF MASSACHUSETTS

                                                           )
BAY EQUITY LLC,                                            )
                                                           )
                               Plaintiff,                  )
               v.                                          )
                                                           )
                                                                   C.A. NO. 20-cv-10693-IT
TOTAL MORTGAGE SERVICES, LLC,                              )
STEVEN SIRMAIAN, and                                       )
DENISE PEACH,                                              )
                                                           )
                               Defendants.                 )
                                                           )

               DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION
              FOR LEAVE TO FILE REPLY IN SUPPORT OF ITS MOTION
            FOR LEAVE TO TAKE LIMITED JURISDICTIONAL DISCOVERY

       As this Court stated in its May 22, 2020 order denying Plaintiff Bay Equity LLC’s (“Bay

Equity”) Motion for Leave to File a Reply: “Affidavits proffered as support for the [20] Motion to

Remand should have been filed with that motion and not afer the opposition was filed. The court

has two briefs from each side addressing the issue of fraudulent joinder. The court will request

additional briefing if needed.” Dkt. 28. Despite the Court’s clear order that the affidavits were

untimely and that no further briefing on fraudulent joinder would be allowed unless specifically

requested by the Court, Bay Equity nevertheless re-filed the affidavits, argued that they support its

case on the merits, and argued that it now needs jurisdictional discovery to further prove that case.

This despite the fact that the Court is not accepting further briefing on the fraudulent joinder issue.

Bay Equity now seeks more additional briefing in the form of a reply, including so that it may

further argue the importance of the two untimely filed affidavits to its case on the merits.

       Bay Equity has had multiple opportunities to argue its case on the fraudulent joinder issue,

and now has had the opportunity to present its case for its spurious and untimely motion to take
           Case 1:20-cv-10693-IT Document 33 Filed 06/05/20 Page 2 of 3



jurisdictional discovery (for the sole stated purpose of testing the “veracity” of affidavits signed

under oath). Enough is enough.

       The Court has before it everything it needs to rule on both fraudulent joinder and

jurisdictional discovery, and Defendants respectfully request that the Court deny Bay Equity’s

Motion for Leave to File a Reply.

                                     Respectfully submitted,

Dated: June 5, 2020                  TOTAL MORTGAGE SERVICES, INC.,
                                     STEVEN SIRMAIAN, and
                                     DENISE PEACH,

                                     By their attorneys,

                                     /s/ Jared L. Hubbard____________________
                                     Jonathan W. Fitch, BBO #168510
                                     Ryan M. Cunningham, BBO #661440
                                     Jared L. Hubbard, BBO #569132
                                     Malgorzata A. Mrózek, BBO #699035
                                     FITCH LAW PARTNERS LLP
                                     One Beacon Street
                                     Boston, MA 02108
                                     (617) 542-5542
                                     jwf@fitchlp.com
                                     rmc@fitchlp.com
                                     jlh@fitchlp.com
                                     mam@fitchlp.com




                                                 2
           Case 1:20-cv-10693-IT Document 33 Filed 06/05/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE

        I, Jared L. Hubbard, hereby certify that this document filed through the ECF system will be

sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on June 5,

2020.


                                                     /s/ Jared L. Hubbard
                                                     Jared L. Hubbard




                                                 3
